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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                            1
    USA GYMNASTICS,                                         Case No. 18−09108−RLM−11

                           Debtor.


    USA GYMNASTICS,                                         Adv. Pro. No. 19–50012
                                                            in 18−09108−RLM−11
             Plaintiff,

    v.

    ACE AMERICAN INSURANCE
    COMPANY f/k/a CIGNA INSURANCE
    COMPANY, GREAT AMERICAN
    ASSURANCE COMPANY, LIBERTY
    INSURANCE UNDERWRITERS INC.,
    NATIONAL CASUALTY COMPANY,
    RSUI INDEMNITY COMPANY, TIG
    INSURANCE COMPANY, VIRGINIA
    SURETY COMPANY, INC. f/k/a
    COMBINED SPECIALTY INSURANCE
    COMPANY, WESTERN WORLD
    INSURANCE COMPANY, ENDURANCE
    AMERICAN INSURANCE COMPANY,
    AMERICAN HOME ASSURANCE
    COMPANY, and DOE INSURERS

             Defendants.


                          ADDITIONAL DESIGNATION OF RECORD
                            FOR USA GYMNASTICS’ OBJECTION
                      TO DEFENDANTS’ JOINT MOTION TO WITHDRAW
                     THE REFERENCE OF THE ADVERSARY PROCEEDING



1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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       USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11

case, hereby submits, pursuant to Rule 5011-1(d) of the Local Rules of the United States

Bankruptcy Court for the Southern District of Indiana, the following Additional Designation of

Record for its Objection To Defendants’ Joint Motion To Withdraw The Reference Of The

Adversary Proceeding:

       1.     Declaration Of James Scott Shollenbarger In Support Of Chapter 11 Petition And
              Requests For First Day Relief [Bankruptcy No. 18−09108−RLM−11, Dkt. 8].
       2.     First Day Motion For An Order (I) Authorizing The Debtor To Continue, Renew,
              And Supplement Insurance Policies; (II) Authorizing Payment Of Obligations
              Incurred In The Ordinary Course Of Operations In Connection With Insurance
              Programs, Including Payment Of Policy Premiums, Broker Fees, And Premium
              Financing Obligations; And (III) Authorizing Banks To Honor And Process Check
              And Electronic Transfer Requests Related Thereto Pursuant To Sections 105(a)
              And 363(b) Of The Bankruptcy Code [Bankruptcy No. 18−09108−RLM−11,
              Dkt. 14].
       3.     Supplement To Motion For An Order (I) Authorizing The Debtor To Continue,
              Renew, And Supplement Insurance Policies; (II) Authorizing Payment Of
              Obligations Incurred In The Ordinary Course Of Operations In Connection With
              Insurance Programs, Including Payment Of Policy Premiums, Broker Fees, And
              Premium Financing Obligations; And (III) Authorizing Banks To Honor And
              Process Check And Electronic Transfer Requests Related Thereto Pursuant To
              Sections 105(A) And 363(B) Of The Bankruptcy Code [Bankruptcy
              No. 18−09108−RLM−11, Dkt. 106].
       4.     Final Order Granting First Day Motion For An Order (I) Authorizing The Debtor
              To Continue, Renew, And Supplement Insurance Policies; (Ii) Authorizing
              Payment Of Obligations Incurred In The Ordinary Course Of Operations In
              Connection With Insurance Programs, Including Payment Of Policy Premiums,
              Broker Fees, And Premium Financing Obligations; And (Iii) Authorizing Banks To
              Honor And Process Check And Electronic Transfer Requests Related Thereto
              Pursuant To Sections 105(A) And 363(B) Of The Bankruptcy Code [Bankruptcy
              No. 18−09108−RLM−11, Dkt. 197].
       5.     Debtor’s Motion For Order Establishing Deadlines For Filing Proofs Of Claim And
              Approving Form And Manner Of Notice Thereof [Bankruptcy
              No. 18−09108−RLM−11, Dkt. 230].
       6.     Order Approving Debtor’s Motion For Order Establishing Deadlines For Filing
              Proofs Of Claim And Approving Form And Manner Of Notice Thereof
              [Bankruptcy No. 18−09108−RLM−11, Dkt. 301].
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Dated: April 9, 2019                              Respectfully submitted,


                                                  JENNER & BLOCK LLP

                                                  By: /s/ Catherine Steege

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Additional Designation Of
Record For USA Gymnastics’ Objection To Defendants’ Joint Motion To Withdraw The
Reference Of The Adversary Proceeding was filed electronically this 9th day of April, 2019.
Notice of this filing will be sent to all parties by operation of the Court’s electronic filing
system. Parties may access this filing through the Court’s electronic filing system.

                                             /s/ Catherine Steege

                                             Counsel for the Debtor
